Case 2:19-cv-00505-MCA-ESK Document 107 Filed 11/13/20 Page 1 of 1 PageID: 725


                       SECURITIES AND EXCHANGE COMMISSION
                                 DIVISION OF ENFORCEMENT
                                        100 F Street, N.E.
                                      WASHINGTON, DC 20549

                                                                                   Stephan J. Schlegelmilch
                                                                                  Supervisory Trial Counsel
                                                                                   Trial Unit, Mail Stop 5977
                                                                                           (202) 551-4935 (t)
                                                                                           (301) 623-1184 (f)
                                                                                  SchlegelmilchS@SEC.gov


                                                       November 13, 2020

 BY ECF

 Honorable Madeline Cox Arleo
 United States District Court for the District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07101

        Re: SEC v. Ieremenko, et al., Case No. 19-cv-505

 Dear Judge Arleo,

         Pursuant to the Court’s Order dated October 13, 2020 (ECF No. 101), plaintiff U.S.
 Securities and Exchange Commission (“SEC”) and defendants Sungjin Cho, Ivan Olefir, Capyield
 Systems, Ltd., and relief defendant Kyungja Cho (collectively, the “parties”) respectfully submit the
 following status update regarding settlement.

         On October 7 and 8, 2020, the parties notified the Court that they had reached agreements
 in principle regarding settlement, subject to the approval of the Commissioners of the SEC and the
 Court (ECF Nos. 99-100). Counsel for the SEC subsequently received authorization from the
 Commission to seek Court approval of the proposed settlements. On November 5, 2020, the SEC
 submitted an agreed motion to approve proposed final judgments as to defendants Sungjin Cho,
 Ivan Olefir, and Capyield Systems, Ltd., along with consents executed by each defendant (ECF No.
 105). Also on November 5, 2020, the SEC submitted an agreed motion to dismiss with prejudice its
 complaint as to relief defendant Kyungja Cho pursuant to Fed. R. Civ. P. 41(a)(2) (ECF No. 106). If
 granted, these motions will resolve the SEC’s claims against these defendants, who are the only
 defendants who have answered the SEC’s complaint and participated in the litigation.

                                                       Very truly yours,

                                                       /s/ Stephan J. Schlegelmilch

                                                       Stephan J. Schlegelmilch

 cc:    All counsel of record (via ECF)
